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            IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOSHUA A. MONIGHAN           :
                   Plaintiff :
                             :             No. 1:18-CV-1654
           v.                :
                             :             Judge Jones
TOM WOLF GOVERNOR            :
COMMONWEALTH OF PA           :             Electronically Filed Document
                             :
                             :             Complaint Filed 08/21/8
                             :
                Defendants :


   BRIEF IN SUPPORT OF DEFENDANT GOVERNOR TOM WOLF’S
                     MOTION TO DISMISS



                                         Respectfully submitted,

                                         JOSH SHAPIRO
                                         Attorney General


                                  By:    s/ Keli M. Neary
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Date: September 25, 2018                Counsel for Governor Tom Wolf
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                                   PROCEDURAL HISTORY

        On August 21, 2018, Mr. Monighan initiated a civil action against Governor

Tom Wolf by filing a document purporting to be a civil complaint. ECF. Doc. No.

1. On September 11, 2018, Governor Wolf filed a motion to dismiss. ECF Doc.

No. 7. Governor Wolf now files this brief in support of his motion.

                                     SUMMARY OF FACTS

        Mr. Monighan is a Pennsylvania taxpayer. ECF Doc. 1 at p. 1. On July 31,

2018, the day before the deadline,1 Mr. Monighan requested an extension of the

period for circulation of third party nomination papers. ECF Doc. No. 1 at p. 13

(Exhibit B). Although the complaint is a hodgepodge of rambling, incomplete

sentences, it appears Mr. Monighan desired an extension due to excessively cold

temperatures in the spring, record amounts of rainfall in the spring and summer,

and high temperatures in the summer in the Central Pennsylvania region. See id. at

p. 6.

        By letter dated, August 9, 2018, Mr. Monighan’s extension was denied by

Commissioner Jonathan Marks, Pennsylvania Department of State, Bureau of

Commissions, Elections and Legislation. ECF Doc. No. 1 at p. 14.




1
        The deadline was August 1, 2018. ECF Doc. No. 1 at p. 14.


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      Through this action, Mr. Monighan now seeks a declaration from this Court

that “disastrous weather” inhibited the ability of a third party candidate to property

circulate his nomination papers. ECF Doc. No. 1 at p. 10.




                             QUESTION PRESENTED

      I.     MUST THE COMPLAINT BE DISMISSED WHERE IT DOES
             NOT SET FORTH A SHORT AND PLAIN STATEMENT OF
             THE CLAIM AND THE AVERMENTS ARE NOT
             SUFFICIENT TO PUT THE DEFENDANT ON NOTICE OF
             THE ALLEGATIONS AGAINST HIM?

             Suggested Answer: Yes.


                                    ARGUMENT

      I.     THE COMPLAINT MUST BE DISMISSED BECAUSE IT
             DOES NOT SET FORTH A SHORT AND PLAIN STATEMENT
             OF THE CLAIM AND THE AVERMENTS ARE NOT
             SUFFICIENT TO PUT THE DEFENDANT ON NOTICE OF
             THE ALLEGATIONS AGAINST HIM.

      A complaint must be dismissed under Fed.R.Civ.P. 12(b)(6), if it does not

allege “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). The plaintiff must aver “factual

content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009).

“Though a complaint ‘does not need detailed factual allegations, . . . a formulaic


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recitation of the elements of a cause of action will not do.’” DelRio–Mocci v.

Connolly Prop. Inc., 672 F.3d 241, 245 (3d Cir. 2012) (citing Twombly, 550 U.S.

at 555). In other words, “[f]actual allegations must be enough to raise a right to

relief above the speculative level.” Covington v. Int'l Ass'n of Approved Basketball

Officials, 710 F.3d 114, 118 (3d Cir. 2013) (internal citations and quotation marks

omitted). A court “take[s] as true all the factual allegations in the Complaint and

the reasonable inferences that can be drawn from those facts, but . . . disregard[s]

legal conclusions and threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements.” Ethypharm S.A. France v. Abbott

Laboratories, 707 F.3d 223, 231 n. 14 (3d Cir. 2013) (internal citations and

quotation marks omitted).

      It is well settled that “[t]he Federal Rules of Civil Procedure require that a

complaint contain ‘a short and plain statement of the claim showing that the

pleader is entitled to relief.’ Fed.R.Civ.P. 8(a)(2), and that each averment be

‘concise, and direct,’ Fed.R.Civ.P. 8(d)(1).” Scibelli v. Lebanon County, 219

F.App’x 221, 222 (3d Cir. 2007). While pro se plaintiffs are held to less stringent

standards of pleading than lawyers, they must still satisfy these basic pleading

requirements. See Rhett v. New Jersey State Superior Court, 260 F.App’x 513 (3d

Cir. 2008). Dismissal is appropriate in cases where the “complaint is so confused,

ambiguous, vague, or otherwise unintelligible that its true substance, if any, is well



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disguised.” Tucker v. Sec’y U.S. Dep’t of Health and Human Servs., 645 F.App’x

136, 137 (3d Cir. 2016) (per curium) (quoting Simmons v. Abruzzo, 49 F.3d 83, 86

2d Cir. 1995)). This is such a case.

      Mr. Monighan’s complaint does not provide any meaningful opportunity for

the Governor to decipher or answer the allegations raised against him. Instead, Mr.

Monighan’s ten page complaint is a series of random phrases and incomplete

thoughts. With the exception page 8 and a few lines on page 9, the complaint does

not contain any numbered paragraphs to which Governor Wolf could logically

respond. In its current form, the complaint does not give the Governor fair notice

of the claims against him.

      Furthermore, the basis for Mr. Monighan’s claims is unclear. At the top of

the second page of his complaint, Mr. Monighan recites a list of constitutional

provisions without relating them to any of the allegations in his complaint. See

ECF Doc. No. 1 at p. 2 (“The first step is the First Amendment, Free speech, Free

Assembly and the Right to petition, establishing issues.”). Later in the pleading,

Mr. Monighan references the Fourth Amendment “right to be secure in our papers”

(p. 2) and the First Amendment right to petition for redress (p. 8); however, neither

reference clarifies the basis for Mr. Monighan’s claims. Mere recitations of

constitutional provisions without clear explanation as to their relationship to the




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allegations in the complaint does not put the Governor on notice of the claims

against which he must defend.

      For these reasons, the complaint should be dismissed for failure to conform

to the pleading standards set forth in Rule 8.

                                  CONCLUSION

      Mr. Monighan’s Complaint fails to set forth a short and plain statement of

his claims as required by Federal Rule of Civil Procedure 8(a); therefore, the

complaint must be dismissed.




                                                 Respectfully submitted,

                                                 JOSH SHAPIRO
                                                 Attorney General


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Date: September 25, 2018                      Counsel for Governor Tom Wolf




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                             :
                Defendants :


                        CERTIFICATE OF SERVICE
      I, Keli M. Neary, Senior Deputy Attorney General for the Commonwealth of

Pennsylvania, Office of Attorney General, hereby certify that on September 25,

2018, I caused to be served a true and correct copy of the foregoing document

titled Brief in Support of Governor Wolf’s Motion to Dismiss to the following:

VIA U.S. MAIL & E-MAIL

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                                       s/ Keli M. Neary
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                                      Chief Deputy Attorney General
